    Case 1:20-cv-11401-PBS     Document 173      Filed 04/29/25   Page 1 of 28



                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
UNITED STATES OF AMERICA, et al., )
ex rel. JULIANNE NUNNELLY and       )
MATTHEW SHANKS,                     )
                                    )
                    Plaintiffs,     )
                                    )
v.                                  )         Civil Action
                                    )         No. 20-cv-11401-PBS
REGENERON PHARMACEUTICALS, INC.,    )
                                    )
                    Defendant.      )
______________________________      )


                             MEMORANDUM AND ORDER

                               April 29, 2025

Saris, D.J.

                                  INTRODUCTION

     In this       qui tam    action,   the United       States alleges that

Defendant      Regeneron       Pharmaceuticals,         Inc.      (“Regeneron”)

fraudulently reported the average sales price (“ASP”) of Eylea, a

prescription drug used to treat age-related vision impairment, in

violation     of    the   False    Claims   Act     (“FCA”),      31   U.S.C.    §

3729(a)(1)(A) & (B), and was unjustly enriched. Similarly, the

intervening States1 bring claims under state analogs to the FCA.



1The complaint was initially brought by former Regeneron employees
on behalf of the United States and certain States and localities.
The United States ultimately intervened in this case against
Regeneron (Dkt. 44). The States of Colorado, Georgia, Michigan,
North Carolina, Texas, and Washington intervened shortly
thereafter (Dkt. 55).
                                        1
     Case 1:20-cv-11401-PBS          Document 173      Filed 04/29/25    Page 2 of 28



At its core, this case is about (1) whether Regeneron’s practice

of reimbursing third-party distributors for credit card processing

fees constitutes a price concession provided to medical providers

(like ophthalmologists) who purchase the drugs, which must be

deducted from the ASP reported to the Centers for Medicare and

Medicaid Services (“CMS”) and (2) whether the fees constitute bona

fide service fees which need not be deducted from ASP.

     Regeneron moves to dismiss the complaint pursuant to Federal

Rules of Civil Procedure 12(b)(6) and 9(b). After a hearing, the

Court DENIES Regeneron’s motion to dismiss (Dkt. 145).

                                          BACKGROUND

I.   Factual Background

     The following facts are taken from the complaints of the

United States (Dkt. 58) and the intervening States (Dkt. 128). The

Court accepts the facts as true at this stage. See Artuso v. Vertex

Pharms., Inc., 637 F.3d 1, 5 (1st Cir. 2011).

     A.     Eylea

     Regeneron      is       a    pharmaceutical       company    that     manufactures

Eylea.    Eylea   is     a       physician-administered        drug     used   to   treat

Neovascular Age-Related Macular Degeneration, commonly called Wet

AMD, a prevalent disease among the elderly that gradually leads to

vision    impairment.             After     prescribing      Eylea       to    patients,

ophthalmologists inject the drug into the patients’ eyes at medical

offices on an outpatient basis.

                                              2
    Case 1:20-cv-11401-PBS     Document 173     Filed 04/29/25   Page 3 of 28



     To obtain Eylea, medical practices purchased the drug up front

from third-party specialty distributors rather than directly from

Regeneron. Under this arrangement, distributors first purchased

Eylea   wholesale   from     Regeneron    and   then    sold     it   to   medical

providers. After an ophthalmologist prescribed and administered

the drug to a patient, the           ophthalmologist        then submitted a

reimbursement claim to Medicare or another payor. This practice is

known as “buy and bill” under Medicare Part B.

     B.    Medicare Part B Reimbursements

     Medicare Part B reimburses physicians for administered “buy

and bill” drugs like Eylea based on the ASP of the drug, minus any

patient co-pay. Regeneron is required by CMS to report the ASP of

their manufactured drugs every quarter. The difference between the

amount Medicare reimburses a physician for a drug and the amount

the physician paid to purchase the drug is referred to as the

“spread” and represents the physician’s profit from the drug. The

plaintiff-States also reimburse “buy and bill” drugs based on the

ASP reported to CMS. Between 2012 and 2023, Medicare Part B spent

more than $25 billion on Eylea reimbursements. The plaintiff-

States estimate that between 2013 and 2024, they collectively spent

more than $175 million on Eylea reimbursements.

     C.    Calculating the ASP

     The ASP was first introduced as the method for calculating

Medicare Part B reimbursements by the Medicare Prescription Drug,

                                      3
    Case 1:20-cv-11401-PBS    Document 173   Filed 04/29/25   Page 4 of 28



Improvement, and Modernization Act of 2003, Pub. L. No. 108–173,

117 Stat. 2066, in part to address concerns that the previous

pricing methodology -- which did not require manufacturers to

deduct discounts -- inflated the costs of pharmaceutical drugs.

Generally speaking, a drug’s ASP represents the manufacturer’s

total sales divided by the total number of units of the drug sold

in a quarter. 42 U.S.C. § 1395w–3a(c)(1)(A)–(B)). This statute

requires   that   the   ASP   “include   volume   discounts,     prompt      pay

discounts, cash discounts, free goods that are contingent on any

purchase requirement, chargebacks, and rebates (other than rebates

under [the Medicaid program]).” Id. § 1395w–3a(c)(3). The statute

further states that “[f]or years after 2004, the Secretary may

include in such price other price concessions . . . that would

result in a reduction of the cost to the purchaser.” Id. (emphasis

added).

     In 2006, CMS implemented the current regulations, which state

in relevant part:

     (2) Price concessions.

           (i) In calculating the manufacturer’s average sales
           price,    a   manufacturer    must  deduct    price
           concessions.    Price   concessions   include   the
           following types of transactions and items:

                  (A) Volume discounts.
                  (B) Prompt pay discounts.
                  (C) Cash discounts.
                  (D) Free goods that are contingent on any
                  purchase requirement.


                                     4
       Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 5 of 28



                   (E) Chargebacks and rebates (other                than
                   rebates under the Medicaid program).

             (ii) For the purposes of paragraph (a)(2)(i), bona
             fide services fees are not considered price
             concessions.

42 C.F.R. § 414.804(a)(2) (emphasis added).

       The regulations define “bona fide service fees” as:

       fees paid by a manufacturer to an entity, that represent
       fair market value for a bona fide, itemized service
       actually performed on behalf of the manufacturer that
       the manufacturer would otherwise perform (or contract
       for) in the absence of the service arrangement, and that
       are not passed on in whole or in part to a client or
       customer of an entity, whether or not the entity takes
       title to the drug.

Id. § 414.802.

       D.    Regeneron’s Use of Distributors

       Instead of selling directly to medical practices, Regeneron

relied on third-party distributors to sell Eylea. Distributors

such as Besse Medical (“Besse”), McKesson Corporation, CuraScript

SD Specialty Distribution, and Metro Medical (collectively, “the

distributors”) first purchased Eylea wholesale from Regeneron, and

then sold it to medical practices. As part of its agreements with

the distributors, Regeneron paid a distribution service fee to the

distributors for services that included account set-up, shipping,

and product storage for each unit of Eylea sold. Regeneron also

reimbursed the distributors for the actual credit card processing

fees     charged   by   third-party    financial    institutions,       on     the



                                       5
    Case 1:20-cv-11401-PBS    Document 173       Filed 04/29/25    Page 6 of 28



understanding that the distributors lowered the effective price of

Eylea for doctors and medical practices using credit cards.

     E. Competition

     When Eylea came to market in 2011, it competed with two drugs

manufactured by Genentech: Avastin and Lucentis. Eylea surpassed

Lucentis’s market share by the end of 2014, but it initially

struggled    to   compete    with   Avastin       --    a   substantially         more

affordable treatment for Wet AMD. Indeed, Avastin remained the

most popular Wet AMD treatment for at least Eylea’s first five

years on the market.

     Regeneron    knew    that   some   medical        practices    considered       a

drug’s potential     profit when choosing which of the three to

purchase    for   their   practice.         Medical    practices     often   hired

practice administrators whose responsibilities included tracking

the spread, or profit, of different treatment options. Regeneron

hired some of these same practice administrators to consult for

Regeneron or speak at Regeneron events. Regeneron also tracked the

profit of each drug -- Eylea, Lucentis, and Avastin -- itself.

     When calculating the profit of a drug, medical practices

considered credit card cashback rewards. Because of Eylea’s high

cost, the amount of cashback from the purchases of Eylea was

significant, and the total profits often comprised a large portion

of a medical practice’s revenue. For example, one practice’s

cashback from Eylea purchases in 2019 approached $450,000. A

                                        6
     Case 1:20-cv-11401-PBS   Document 173        Filed 04/29/25   Page 7 of 28



practice administrator told Regeneron that practices considered

credit card rewards when determining the profit generated by a

given drug.

     While medical practices factored in credit card rewards when

making purchases, Regeneron knew they were sensitive to the higher

prices associated with using credit cards to purchase Wet AMD

therapeutics. Typically, if medical practices used credit cards to

purchase Lucentis or Avastin from the distributors, they incurred

a   processing     fee   to   offset    the       fee   charged    by   financial

institutions to process credit card transactions. Customers paying

with cash did not incur such a fee; as one distributor described

in its standard invoice form, those customers received a “cash

discount” that “[p]ayments by credit card [did] not receive.” Dkt.

58 ¶ 76. In 2011, the year Eylea entered the market, Regeneron’s

Reimbursement Business Manager sent a company email describing how

the processing fee for credit card payments was a “big deal” for

medical practices.       Id. ¶ 77.      Accordingly, as early as 2011,

Regeneron decided to reimburse the distributors for credit card

processing fees for practices purchasing Eylea with credit cards.

     Under Regeneron’s credit card fee reimbursement arrangement,

the distributors charged medical practices the same price for Eylea

regardless    of   payment    method.       The   distributors     itemized       the

purchases with the waived credit card fees and sent an invoice to

Regeneron. Regeneron would then pay the distributors the credit

                                        7
    Case 1:20-cv-11401-PBS     Document 173         Filed 04/29/25       Page 8 of 28



card fees that the distributors would have received from the

medical practices in addition to the standard distribution fee

Regeneron paid distributors for the services rendered. In other

words,    had     Regeneron   not     reimbursed       the     credit       card    fees,

distributors would have charged medical practices more for buying

Eylea with credit cards. From January 2018 through May 2021,

Regeneron paid the distributors over $250 million for credit card

processing fees for Eylea.

     Meanwhile, when medical practices purchased Lucentis and

Avastin    from    the    distributors,      they     incurred       a     credit       card

processing fee of around 2.4%. However, physician customers of

Lucentis had the option of purchasing Lucentis with a credit card

directly from Genentech, the manufacturer, without a fee.

     Regeneron marketed the lack of fees for using credit cards

when purchasing Eylea from distributors and distinguished Eylea

from its competitors on this basis.            In addition, Regeneron acted

swiftly to remedy instances where distributors erroneously charged

customers for paying by credit card. In one instance, when a

customer complained to Regeneron’s Chief Executive Officer that he

was not getting “a discount” and his credit cards were “cod[ed]”

wrong,    Regeneron      executives    reached      out   to    the      distributor’s

executives about the situation and followed up weeks later. Id. ¶

88. In another example, when a distributor added a charge to the

“cash only” price for a credit card customer, a Regeneron executive

                                         8
      Case 1:20-cv-11401-PBS         Document 173       Filed 04/29/25     Page 9 of 28



asked    the    distributor      to     “correct”        the   issue      “asap”   because

Regeneron “cover[s] [the] credit card pass thru costs.” Id. ¶ 79.

      F.       Bona Fide Service Fees

      Manufacturers       of     “buy    and       bill”   drugs,        especially       when

competing      products       enter    the    market,      often    face      conflicting

incentives.       On   the     one    hand,       to    maximize    customer       profit,

manufacturers seek to maintain a high and stable ASP. Because

Medicare and other payors reimbursed medical practices based on

Eylea’s reported ASP, the higher the ASP remained, the more profit

the     medical    practices         stood    to       gain.   Furthermore,        medical

practices often tracked the ASP of different drugs, which were

updated every quarter. The medical practices were sensitive to ASP

fluctuations and sought stable financial options.

      Meanwhile, to appeal to certain customers, manufacturers may

seek to provide those customers with price concessions. However,

doing so creates a lower ASP because manufacturers are obligated

to deduct the price concessions given to purchasers from the

reported ASP, which in turn lowers the potential profit for the

entire     physician    market.       During       a   2013    presentation,       Besse’s

parent company warned Regeneron of this phenomenon; in particular,

the presentation explained that if Regeneron paid certain types of

service fees, it would “likely result in lower reimbursement for

the entire physician market.” Dkt. 58 ¶ 114 (emphasis omitted).

Regeneron      knew    this    happened       to    Genentech      --     Lucentis’s       ASP

                                              9
   Case 1:20-cv-11401-PBS     Document 173    Filed 04/29/25    Page 10 of 28



declined after Genentech offered its customers rebates. Regeneron

also knew that if it offered and reported discounts, it risked

starting a “price war” with Genentech, “lead[ing] to a downward

pricing spiral.” Id. ¶ 121.

     Regeneron hoped to increase its customers’ cost recovery

while keeping Eylea’s ASP stable. Regeneron knew that paying for

bona fide service fees (“BFSFs”) was one method of decreasing the

cost of Eylea without offering a reportable discount. As discussed

more fully below, pursuant to 42 C.F.R. § 414.804(a)(2)(ii), a

BFSF is not deducted from the ASP. In an internal document from

2016, Regeneron assumed the credit card fees qualified as a BFSF

when calculating Eylea’s ASP. The “[a]pprover” of this assumption,

Alicia Pantaleo, emailed an employee from Deloitte, a consulting

firm, two years later inquiring whether “we ever d[id] anything on

credit card fees to substantiate that they were BFSF[s].” Id. ¶

111. The following year, Deloitte reported to Regeneron that credit

card fee reimbursements would not qualify as BFSFs.

     Nonetheless, Regeneron continued to reimburse credit card

fees without accounting for them in the ASP. As a result, Eylea’s

ASP remained stable. Regeneron marketed the stability and created

graphics   depicting   Lucentis’s     declining      ASP       juxtaposed   with

Eylea’s    constant    ASP.     Absent       Regeneron’s        payments,       the

distributors would have charged customers a higher price for using



                                     10
      Case 1:20-cv-11401-PBS     Document 173   Filed 04/29/25   Page 11 of 28



credit cards, for example $44.40 more per vial of Eylea on a per

unit cost of $1,850.

II.    Procedural Background

       Relators filed this action against Regeneron in July 2020 and

amended their complaint two years later. In 2023, the United States

elected to intervene in part pursuant to 31 U.S.C. § 3730(b)(4).

The United States filed its complaint on March 28, 2024, bringing

FCA claims under 31 U.S.C. § 3729(a)(1)(A) and (B) and a claim for

unjust enrichment under federal common law. Colorado, Georgia,

Michigan, North Carolina, Texas, and Washington also partially

intervened and filed a complaint bringing claims under their state-

law analogs. Regeneron now moves to dismiss the federal- and state-

law claims.

                                 LEGAL STANDARD

       To survive a Rule 12(b)(6) motion to dismiss, a complaint

must allege “a plausible entitlement to relief.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 559 (2007). “While a complaint attacked by

a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations, a plaintiff’s obligation to provide the grounds of

his    entitlement     to      relief   requires    more    than    labels       and

conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Id. at 555 (cleaned up). This standard

requires a court to “separate the complaint’s factual allegations


                                        11
      Case 1:20-cv-11401-PBS       Document 173    Filed 04/29/25   Page 12 of 28



(which    must      be   accepted    as   true)   from    its     conclusory   legal

allegations (which need not be credited).” Kando v. R.I. State Bd.

of Elections, 880 F.3d 53, 58 (1st Cir. 2018) (quoting Morales-

Cruz v. Univ. of P.R., 676 F.3d 220, 224 (1st Cir. 2012)). The

court must then determine whether the factual allegations permit

it “to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Germanowski v. Harris, 854 F.3d 68,

72 (1st Cir. 2017) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)).

                                     DISCUSSION

I.     Federal FCA Standard

       The complaint relies on two provisions of the FCA that target

distinct types of false claims. First, relying on the presentment

theory,       the    complaint       alleges      that    Regeneron       “knowingly

present[ed], or cause[d] to be presented, a false or fraudulent

claim for payment or approval.” 31 U.S.C. § 3729(a)(1)(A). Under

this theory, fraud “has two components: the defendant must submit

or cause the submission of a claim for payment to the government,

and     the    claim        for    payment      must     itself     be    false     or

fraudulent.” Hagerty ex rel. United States v. Cyberonics, Inc.,

844 F.3d 26, 31 (1st Cir. 2016).

       Second,      under    a    false   statements     theory,    the   complaint

alleges that Regeneron “knowingly ma[de], use[d], or cause[d] to

be made or used, a false record or statement material to a false
                                           12
      Case 1:20-cv-11401-PBS      Document 173      Filed 04/29/25    Page 13 of 28



or    fraudulent    claim”     to       the    federal    government.      31    U.S.C.

§ 3729(a)(1)(B).

       As the First Circuit has explained, “[e]vidence of an actual

false claim is ‘the sine qua non of [an FCA] violation.’” Guilfoile

v. Shields, 913 F.3d 178, 188 (1st Cir. 2019) (quoting United

States ex rel. Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220,

225 (1st Cir. 2004)). The plaintiff must also show that the

defendant either “present[ed]” or “cause[d] to be presented” the

false claim, 31 U.S.C. § 3729(a)(1)(A), or made or used a false

statement     “material      to     a    false     or    fraudulent     claim,”        id.

§ 3729(a)(1)(B).      Under       both    provisions,      the   falsity        must   be

material to the government’s decision to pay. See Guilfoile, 913

F.3d at 187 & n.7.

       Next, “[t]he FCA includes a scienter requirement that the

false claim be submitted ‘knowingly.’” Id. (quoting 31 U.S.C.

§ 3729(a)(1)(A), (b)(1)). The FCA defines “knowingly” to mean that

the defendant ”has actual knowledge of the information,” “acts in

deliberate ignorance of the truth or falsity of the information,”

or “acts in reckless disregard of the truth or falsity of the

information.”      31 U.S.C. § 3729(b)(1)(A).              “[P]roof of specific

intent to defraud,” however, is not required. Id. § 3729(b)(1)(B).

II.    Whether Credit Card Fee Reimbursements Qualify as “Price
       Concessions”




                                              13
     Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 14 of 28



       Regeneron’s first argument for dismissal is that reimbursing

distributors for credit card fees does not qualify as a price

concession that must be deducted from Eylea’s ASP. In Regeneron’s

view, its practice is no different from that of the ordinary

business practice of charging customers “a single cash–or-credit

price and thus allow[ing] some customers to buy products with a

credit card (and potentially obtain rewards or cash-back) without

paying an upcharge.” Dkt. 146 at 10.2 If Regeneron is correct, then

the ASP reported for Eylea was not false or fraudulent under the

FCA.

       The key question is whether, under 42 U.S.C. § 1395w-3a(c)(3)

and 42 C.F.R. § 414.804(a)(2), reimbursing distributors for credit

card fees constitutes a “price concession.” Regeneron urges the

Court to interpret the statute and regulation as limiting price

concessions to only the enumerated transactions. It argues that a

manufacturer need not include in its ASP calculation an alleged

price concession that is not explicitly mentioned in the statute

and that the Secretary has not identified “other price concessions”

beyond those enumerated in the statute. See 42 U.S.C. § 1395w-

3a(c)(3).

       But the plain language of the statute authorizes the Secretary

to   include   “other   price   concessions”    beyond    those    explicitly


2 The government does not argue that the credit card cash rewards
Eylea customers received were price concessions.
                                     14
   Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 15 of 28



listed. Id. Under this authority, CMS promulgated the regulation,

which states that “[p]rice concessions include the following types

of transactions.” 42 C.F.R. § 414.804(a)(2)(i) (emphasis added).

As the Supreme Court has noted, “the term ‘includ[e]’ is not one

of all-embracing definition, but connotes simply an illustrative

application of the general principle.” Fed. Land Bank of St. Paul

v. Bismarck Lumber Co., 314 U.S. 95, 100 (1941); see also Samantar

v. Yousuf, 560 U.S. 305, 317 n.10 (2010) (“[T]he word ‘includes’

is usually a term of enlargement, and not of limitation[.]”

(alteration in original) (quoting Singer & J. Singer, Sutherland

on Statutory Construction 305 (7th ed. 2007))). By using “include,”

CMS created an illustrative list of price concessions. Moreover,

other CMS guidelines frame the enumerated price concessions as

examples, noting that manufacturers must “take into account price

concessions such as” those enumerated. Medicare Program; Revisions

to Payment Policies Under the Physician Fee Schedule for Calendar

Year 2007 and Other Changes to Payment Under Part B, 71 Fed. Reg.

48,982, 49,000 (Aug. 22, 2006) (emphasis added); accord Medicare

Program; Revisions to Payment Policies, Five-Year Review of Work

Relative Value Units, Changes to the Practice Expense Methodology

Under the Physician Fee Schedule, and Other Changes to Payment

Under Part B, 71 Fed. Reg. 69,624, 69,666 (Dec. 1, 2006).

     Although interpreting “include” to be a “term of enlargement,

and not of limitation,” is the norm, as Regeneron points out, it

                                   15
   Case 1:20-cv-11401-PBS     Document 173     Filed 04/29/25   Page 16 of 28



is not without exception. See Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Text 132-33 (2012) (”Even

though the word including itself means that the list is merely

exemplary and not exhaustive, the courts have not invariably so

held.” (quoting Garner’s Dictionary of Legal Usage 439–40 (3d ed.

2011))).     Oftentimes    when   a   court     interprets      “include”       as

introducing an exhaustive list, the verb is followed by distinct

categories that lack a unifying general principle. See, e.g.,

Carcieri v. Salazar, 555 U.S. 379, 391-92 (2009) (holding that

Congress’s use of “shall include” to define “Indian” created an

exhaustive list because the phrase was followed by “only three

discrete definitions”); Dong v. Smithsonian Inst., 125 F.3d 877,

880 (D.C. Cir. 1997) (finding a list following “includes” to be

exhaustive when it lacked a “unifying” “general principle” and

detailed distinct categories). The price concessions listed in the

regulation    have    a   unifying    general     principle:      each    listed

transaction effectively reduces the cost for customers purchasing

a drug. Therefore, the Court interprets the word “include” in the

regulation as a term of enlargement rather than limitation.

     Regeneron       argues   that     unlike      the     enumerated      price

concessions, credit card fee reimbursements to distributors do not

offer the credit card users           (i.e.,    the medical practices) a

discount or rebate; rather, in its view, distributors charge a

single price for Eylea for credit card and cash users alike.

                                      16
   Case 1:20-cv-11401-PBS   Document 173    Filed 04/29/25    Page 17 of 28



Regeneron offers examples from other markets (like pizza parlors)

and commonplace transactions where consumers are routinely charged

the same price for an item or service regardless of payment method.

     To support its argument, Regeneron relies on United States ex

rel. Westmoreland v. Amgen, Inc., 812 F. Supp. 2d 39 (D. Mass.

2011). In Westmoreland, the district court held that “overfill,”

the practice of placing excess drugs in a vial to help with

withdrawal and administration of the labeled amount, was not a

price concession. Id. at 67. Key to that ruling was the fact that

excluding overfill as a price concession was “a conscious choice”

by CMS, which promulgated a 2010 final rule that                    explicitly

discussed and dismissed overfill as a price concession while

simultaneously   prohibiting    medical     practices        from   submitting

reimbursement requests for any overfill used.                 Id.   at 65. In

contrast, CMS has not made a similar decision regarding credit

card processing fee reimbursement.

     The government argues that reimbursing credit card fees so

that credit card users pay a lower price effectively gives them a

price concession. This is a plausible claim. As the complaint

alleges,   Regeneron’s      customers      themselves        understood       the

reimbursements as “discount[s]” and so did Regeneron executives.

In addition, competitor Genentech did not reimburse credit card

fees for Aventis and Lucentis, so medical practices paid higher

prices when they used credit cards to purchase those drugs from

                                   17
   Case 1:20-cv-11401-PBS   Document 173    Filed 04/29/25   Page 18 of 28



distributors. Accordingly, while the statute and regulation do not

expressly identify credit card fee reimbursements as a deductible

price concession, the regulation broadly requires manufacturers to

deduct all price concessions, and the complaint plausibly alleges

that this included the credit card fee reimbursements in light of

prevailing industry practices.

III. Whether the Credit Card Fee Reimbursements Constitute Bona
     Fide Service Fees (“BFSFs”)

     The     second   question   is    whether   the    credit     card      fee

reimbursements were BFSFs that did not need to be deducted from

Eylea’s ASP. Regeneron contends that credit card processing fees

should be treated the same as shipping fees, which distributors

likewise incur as part of distribution and manufactures likewise

reimburse.

     CMS’s regulation exempts BFSFs from the definition of “price

concessions.” See 42 C.F.R. § 414.804(a)(2)(ii). Again, to qualify

as a BFSF, the fee must:

     represent [1] fair market value [2] for a bona fide,
     itemized service actually performed on behalf of the
     manufacturer [3] that the manufacturer would otherwise
     perform (or contract for) in the absence of the service
     arrangement, and [4] that are not passed on in whole or
     in part to a client or customer of an entity, whether or
     not the entity takes title to the drug.

Id. § 414.802 (numbering added). Failure to meet any one prong

disqualifies a fee as a BFSF. Regeneron posits that all four prongs




                                      18
   Case 1:20-cv-11401-PBS           Document 173          Filed 04/29/25       Page 19 of 28



are satisfied. The government argues that Regeneron’s credit card

fee reimbursements fail the second, third, and fourth criteria.

       Because the Court concludes that the fee does not qualify

under the second prong, the Court does not address prongs three

and four. Under the second prong, the government argues that the

credit card fee reimbursements do not represent payment for a

distribution service performed on Regeneron’s behalf. In response,

Regeneron asserts that the fee is for the service of credit card

processing      and    is     no    different        than       paying         for    any     other

distribution        service    such      as    shipping        costs,         which    Regeneron

typically pays for. The government concedes that shipping costs

are BFSFs. In both instances, Regeneron pays the distributor for

acts   done    by     third    parties        --    in    the       case      of     credit   card

processing, financial institutions, and in the case of shipping,

transporters. Regeneron argues that reimbursing shipping services

benefits medical practices who theoretically could be charged for

shipping.

       The    CMS    guidance       to   the       BFSF    rule      clarifies         that     CMS

“interpret[s]        these    [BFSF]      elements         .    .    .    to    encompass       any

reasonably      necessary          or    useful      services            of    value     to    the

manufacturer that are associated with the efficient distribution

of drugs.” Medicare Program; Revisions to Payment Policies, Five-

Year Review of Work Relative Value Units, Changes to the Practice

Expense Methodology Under the Physician Fee Schedule, and Other

                                              19
      Case 1:20-cv-11401-PBS    Document 173      Filed 04/29/25   Page 20 of 28



Changes to Payment Under Part B, 71 Fed. Reg. at 69,668. As the

government persuasively points out, credit card services, unlike

shipping services that deliver the drugs, are not necessary or

useful for the “efficient distribution” of drugs. Moreover, credit

card fees are paid “on behalf of” customers, not on behalf of the

manufacturers, to reduce their cost and improve their profit.

Accordingly, the government has persuasively argued that these

reimbursements do not qualify as a “bona fide, itemized service

actually performed on behalf of the manufacturer.” 42 C.F.R. §

414.802.

IV.    Scienter

       Regeneron argues that the complaint fails to adequately plead

scienter.     Under   the      FCA’s   scienter     requirement,      “knowingly”

includes three mental states:

       First, that the person “has actual knowledge of the
       information.”   Second, that the person       “acts in
       deliberate ignorance of the truth or falsity of the
       information.” And, third, that the person “acts in
       reckless disregard of the truth or falsity of the
       information.” In short, either actual knowledge,
       deliberate ignorance, or recklessness will suffice.

United States ex rel. Schutte v. SuperValu Inc., 598 U.S. 739,

749–50 (2023) (citations omitted) (quoting 31 U.S.C. § 3729). The

FCA does not require proof of specific intent to defraud; liability

arises as long as one of these three mental states is established.

See id. at 750 n.3. The Supreme Court has clarified that scienter

under the FCA is assessed subjectively, focusing on the defendant’s

                                        20
   Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 21 of 28



actual knowledge and beliefs rather than those of a hypothetical

reasonable person. See id. at 749. Under this subjective standard,

“even though [a regulatory phrase] may be ambiguous on its face,

such facial ambiguity alone is not sufficient to preclude a finding

that [defendant] knew [its] claims were false.” Id.

     The government plausibly alleges that Regeneron knowingly

failed to include credit card processing fee reimbursements as

price concessions. For example, the government claims Regeneron

was aware that some medical practices selected Wet AMD drugs based

on their profitability. When calculating potential profit, medical

practices factored in credit card rewards, reimbursement rates,

and ASP stability. By reimbursing credit card processing fees

without including the reimbursements in its ASP calculations,

Regeneron enhanced all three factors: Eylea’s ASP stayed stable,

unaffected by the credit card processing fee reimbursements; the

profit spread increased, as credit card customers paid less for

Eylea while Medicare reimbursements remained constant; and medical

practices were able to reap the benefits of credit card rewards

without paying extra fees. The complaint also claims that customers

understood   the   reimbursement   to   constitute     a    “discount”      and

referred to them as such in at least one call to a Regeneron

executive. Dkt. 58 ¶ 88.        The complaint further alleges            that

Regeneron    ignored   a    Deloitte    report   indicating      that       the

reimbursements did not qualify as BFSFs.

                                   21
    Case 1:20-cv-11401-PBS         Document 173       Filed 04/29/25      Page 22 of 28



     Regeneron presents an alternative argument: it should not be

held liable even if it was obligated to report the reimbursements

because its calculation of Eylea’s ASP was, at the very least,

reasonable.      Regeneron’s         argument         hinges       on     CMS     guidance

instructing      manufacturers        to    “make     reasonable        assumptions        in

[their]   calculations        of    ASP,”     “[i]n       the   absence      of   specific

guidance.” Medicare Program; Revisions to Payment Policies Under

the Physician Fee Schedule for Calendar Year 2007 and Other Changes

to Payment Under Part B, 71 Fed. Reg. at 49,004. CMS instructs

manufacturers      to    “include          [the]    assumptions         in      their     ASP

submissions.” Id.3 Regeneron contends that it reasonably assumed

credit    card     fee    reimbursements            did     not    constitute           price

concessions      in     the   absence        of     adequate       guidance       on      ASP

calculation.4     Accordingly,         Regeneron          frames    the      question     as


3 A spreadsheet titled “Regeneron Pharmaceuticals -- Reasonable
Assumptions for April 2016 Monthly Average Manufacturer Price
(AMP)” is attached to the government’s complaint. Dkt. 58-43. Each
page of the document includes the disclaimer: “[t]his document is
intended solely for the information and internal use of Regeneron
Pharmaceuticals and should not be used or relied upon by any other
person or entity.” Id. At the motion to dismiss stage, it is
unclear whether the document was ever submitted to CMS.

4  Regeneron supports its claim that CMS failed to provide
sufficient guidance by selectively quoting from a 2022 Department
of Health and Human Services Office of Inspector General (“OIG”)
report, which called on CMS to provide more guidance for
calculating ASP and identified nine areas requiring clarification.
However, notably absent from the OIG’s recommendations were issues
related to the definition of price concessions in general and
credit card processing fees in particular. OIG’s recommendations
concerning BFSFs were limited to two criteria not relied on here,
                                            22
      Case 1:20-cv-11401-PBS    Document 173    Filed 04/29/25   Page 23 of 28



“whether ‘reasonable minds may differ’ with [the government’s]

view that credit card processing fees must be included in ASP.”

Dkt. 146 at 42 (quoting United States ex rel. Jones v. Brigham &

Women’s Hosp., 678 F.3d 72, 87 (1st Cir. 2012)).

       Even if the definition of a BFSF is ambiguous, and even if

Regeneron’s current interpretation is reasonable, the argument is

unpersuasive. The Supreme Court in SuperValu made clear that the

relevant inquiry under the FCA is Regeneron’s subjective state of

mind at the time of the alleged misconduct. See SuperValu Inc.,

598    U.S.    at   749.   Drawing    all    reasonable     inferences     in    the

government’s favor, the Court concludes that it is plausible that

Regeneron      knowingly    failed    to     deduct   the    credit    card      fee

reimbursements from Eylea’s ASP in order to gain a competitive

advantage.

V.     False Claim

       Regeneron next contends that the complaint fails to allege

falsity in any claim for payment presented to the government. For

a    false    statement    to   be   actionable    under    either    31   U.S.C.

§ 3729(a)(1)(A) or § 3729(a)(1)(B), it must be made in connection




clarifying “fair market value” and “what constitutes sufficient
evidence of knowledge that a fee is passed through.” U.S. Dep’t of
Health and Hum. Servs. OIG, OEI-BL-21-00330, Manufacturers May
Need Additional Guidance to Ensure Consistent Calculations of
Average          Sales         Prices          13          (2022),
https://oig.hhs.gov/documents/evaluation/3215/OEI-BL-21-00330-
Complete%20Report.pdf.
                                        23
   Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 24 of 28



with a false or fraudulent claim. The government argues that this

requirement has been met for two reasons. First, by reporting a

falsely inflated ASP, Regeneron caused Medicare to pay for Eylea

claims at an inflated rate. According to the government, Regeneron

submitted these false ASP reports knowing Eylea customers would

rely on the reported ASP to submit claims for reimbursement to

Medicare. Second, medical practices certified that their claims

for Eylea complied with Medicare regulations, which was false

because of Regeneron’s misconduct.

     This Court has long held that a claim predicated on an

underlying fraudulent pricing scheme is false although the claim

itself may not contain a fraudulent price. See In re Pharm. Indus.

Average Wholesale Price Litig. (“AWP”), 478 F. Supp. 2d 164, 172-

73 (D. Mass. 2007). Regeneron argues that the AWP line of cases is

not controlling because the FCA was amended in 2009. According to

Regeneron, since 2009, the FCA has clarified that there must be a

falsehood in an actual “request or demand . . . for money or

property.” 31 U.S.C. § 3729(b)(2)(A). In its view, the claims

submitted by the medical practices to CMS did not make false

statements, and the false statements made by Regeneron about ASPs

were not claims for money or property. Regeneron further argues

that the claims submitted by Eylea’s customers were not false

because they did not specifically certify compliance with ASP

reporting.

                                   24
   Case 1:20-cv-11401-PBS   Document 173       Filed 04/29/25    Page 25 of 28



     The   basis   of   Regeneron’s    first     argument       is   flawed.     The

definition of “claim” is “any request or demand, whether under a

contract or otherwise, for money or property . . . that . . . is

presented to an officer, employee, or agent of the United States.”

Id. The 2009 amendment merely relocated this definition from

§ 3729(c) to § 3729(b)(2)(A); it did not alter the language or

impose a heightened requirement that the falsehood itself be

embedded in the request for payment. Rather, the government’s

theory falls within the scope of the FCA: that Regeneron violated

the statute by submitting false ASP reports that caused, and were

material to, the submission of false claims for payment for Eylea

at falsely inflated prices.

     Nor do the cases cited by Regeneron support its argument that,

post-2009, FCA liability attaches only when the falsehood appears

on the face of the submitted claim. In United States ex rel. Booker

v. Pfizer, Inc., the First Circuit held that, as is alleged here,

“FCA liability attaches” when “fraudulent conduct affecting the

government . . . resulted in the filing of a false claim for

payment from the government.” 847 F.3d 52, 57 (1st Cir. 2017)

(cleaned up), aff’g 9 F. Supp. 3d 34 (D. Mass. 2014). The other

cases cited by Regeneron involved dismissal under Rule 9(b) where

the complaints failed to identify specific claims submitted to the

government, an issue not present here since the government has

provided a table of claims to Medicare for Eylea reimbursement,

                                      25
    Case 1:20-cv-11401-PBS    Document 173   Filed 04/29/25   Page 26 of 28



including specific dates and amounts. See United States ex rel. Ge

v. Takeda Pharm. Co., 737 F.3d 116, 124 (1st Cir. 2013) (affirming

dismissal under Rule 9(b) when relator provided “at most, aggregate

expenditure data . . . with no effort to identify specific entities

who submitted claims or government program payers”); United States

ex rel. Grant v. United Airlines Inc., 912 F.3d 190, 197 (4th Cir.

2018) (affirming dismissal under Rule 9(b) when relator failed to

allege that fraudulent “scheme necessarily led to the presentment

of a false claim to the government for payment”).

       Moreover, as the Supreme Court explained in Universal Health

Services, Inc. v. United States ex rel. Escobar (“Escobar”), false

claims can also arise under an “implied false certification”

theory, where a claimant’s failure to disclose noncompliance with

material    statutory    or    regulatory    requirements       renders       its

representations misleading half-truths. 579 U.S. 176, 186, 190

(2016). This is true even if the entity submitting claims does not

know   about   the   non-submitting    entity’s    unlawful    conduct.       See

United States ex rel. Hutcheson v. Blackstone Med., Inc., 647 F.3d

377, 390 (1st Cir. 2011).5 Here, the government argues that each

time a medical practice submitted a claim for reimbursement, it


5 Regeneron urges the Court to read the First Circuit’s recent
opinion in Humana Inc. v. Biogen, Inc., 126 F.4th 94 (1st Cir.
2025), as narrowing Escobar. See Dkt. 169. However, Humana was
concerned with whether the plaintiff met the pleading standards
for a RICO claim premised on mail and wire fraud under Rule 9(b).
Id. at 103-04.
                                      26
      Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 27 of 28



certified compliance with “all applicable Medicare and/or Medicaid

laws, regulations, and program instructions for payment.” Dkt. 151

at 36. This statement was false given Regeneron’s inaccurate ASP

reporting.

       Because   the   complaint    plausibly    alleges       that   Regeneron

knowingly inflated Eylea’s ASP, resulting in false claims to the

government and implied false certifications of compliance with

Medicare requirements, and identifies specific claims submitted by

Eylea customers to the government, the allegations sufficiently

establish falsity under the FCA.

VI.    State Law Claims

       Finally, Regeneron asserts that the plaintiff-States’ claims

under various state analogs of the federal FCA fail for the same

reasons as its federal claims. The plaintiff-States respond that

even if dismissal is warranted on the federal claims, the claims

under Texas law survive. Since this Court denies the motion to

dismiss as to the federal claims, the Court denies the motion with

respect to the state claims as well and need not visit purported

differences between the FCA and the Texas analog at this juncture.6




6 Regeneron also moves to dismiss the claims of unjust enrichment.
However, unjust enrichment may be pled against Regeneron as an
alternative theory of liability. See Fed. R. Civ. P. 8(d)(3).
                                      27
   Case 1:20-cv-11401-PBS   Document 173   Filed 04/29/25   Page 28 of 28



                                 ORDER

    For the reasons stated above, Regeneron’s motion to dismiss

(Dkt. 145) is DENIED.



SO ORDERED.

                                        /s/ PATTI B. SARIS__________
                                        Hon. Patti B. Saris
                                        United States District Judge




                                   28
